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   Chapter 7 Trustee
 7

 8                               UNITED STATES BANKRUPTCY COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10                                         SANTA ANA DIVISION
11

12 In re                                                    Case No. 8:21-bk-11710-SC

13 JAMIE LYNN GALLIAN,                                      Chapter 7

14                                                          TRUSTEE’S OBJECTION TO DEBTOR’S
                                                            NOTICE OF LODGMENT OF ORDER
15                     Debtor.                              AND PROPOSED ORDER RE:
                                                            DEBTOR'S NOTICE TO TRUSTEE TO
16                                                          ABANDON ESTATE’S INTEREST IN
                                                            REINVESTED FUNDS FROM SALE OF
17                                                          UNIT 53, 10/31/2018 APN 937-630-53 TO
                                                            PURCHASE LBM1081 ON NOVEMBER 1,
18                                                          2018, AND AGAINST JAMIE LYNN
                                                            GALLIAN RELATING TO THE
19                                                          PURCHASE IN THE PERSONAL
                                                            PROPERTY COMMONLY KNOWN AS
20                                                          16222 MONTEREY LN #376,
                                                            HUNTINGTON BEACH, CALIFORNIA
21                                                          92649; REQUEST FOR JUDICIAL
                                                            NOTICE IN SUPPORT THEREOF
22
                                                            [NO HEARING SET]
23

24

25            Jeffrey I. Golden, the Chapter 7 Trustee for the bankruptcy estate (the “Estate”) of Jamie

26 Lynn Gallian (the “Debtor), hereby objects to the Debtor’s Notice of Lodgment of Order (docket

27 no. 225) (the “Notice of Lodgment”) and attached proposed Order (docket no. 225-1) (the

28 “Proposed Order”) approving the Debtor’s Notice to Trustee to Abandon Estate’s Interest in

     1693359.1 27064                                    1
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 1 Reinvested Funds from Sale of Unit 53, 10/31/2018 APN 937-630-53 to Purchase LBM1081 on

 2 November 1, 2018, and Against Jamie Lynn Gallian Relating to the Purchase in the Personal

 3 Property Commonly Known as 16222 Monterey Ln #376, Huntington Beach, California 92649

 4 (docket no. 203) (the “Notice to Abandon”).

 5            The Proposed Order was improperly lodged by the Debtor in contravention of Local

 6 Bankruptcy Rule 6007-1(d), (e) and 9013-1(o)(3) and falsely states that there was no objection to

 7 the Debtor’s Notice to Abandon, which there was. Accordingly, as discussed in more detail below,

 8 the Court should not enter the Proposed Order lodged by the Debtor.

 9            1.       The Debtor is not entitled to use the notice of intention to abandon procedure set

10 forth in Local Bankruptcy Rule 6007-1(a) to obtain entry of the Proposed Order. Local Bankruptcy

11 Rule 6007-1(a) provides that “only a trustee or debtor in possession who desires to abandon

12 property of the estate may seek to do so by a notice of intent to abandon, without the necessity for

13 filing a motion to abandon.” LBR 6007-1(a). Here, the Debtor in this chapter 7 case is neither the

14 Trustee or a debtor in possession and cannot seek to obtain entry of the Proposed Order utilizing

15 such Rule.

16            2.       The Trustee timely filed and served an objection and request for a hearing with

17 respect to the Debtor’s Notice to Abandon (docket no. 222) (the “Trustee’s Objection”), on

18 September 8, 2022. The Huntington Beach Gables Homeowners Association (“HOA”) timely filed

19 and served a joinder (docket no. 223) in the Trustee’s Objection (the “Joinder”) on September 9,

20 2022. Both The Trustee’s Objection and the HOA’s Joinder were filed and served within 14 days

21 of the Debtor’s filing (and service by NEF) of the Notice to Abandon. Pursuant to Local

22 Bankruptcy Rule 6007-1(e), when a timely opposition or objection is filed to a notice to abandon,

23 the Debtor is required to set the notice to abandon for hearing. Here, notwithstanding that the

24 Trustee’s Objection and HOA’s Joinder were filed, the Debtor has not set the Notice to Abandon

25 for hearing, which, if she wants such relief, she is now required to do. The Court now should not

26 enter the Proposed Order until there has been a hearing.

27            3.       Even if there was no objection to the Notice to Abandon, which there was, the

28 Debtor still has not followed the correct procedure for entry of the Proposed Order. Although the

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 1 Trustee and HOA did file their objection and joinder to the Notice to Abandon, in the absence of an

 2 objection the Debtor must still comply with Local Bankruptcy Rule 6007-1(e), which requires the

 3 Debtor to follow the procedure in Local Bankruptcy Rule 9013-1(o)(3)(A), and file a declaration of

 4 service and no response

 5                     attesting that: (i) no timely response and request for hearing was
                       served upon the moving party; and (ii) that the declarant has checked
 6                     the docket of the bankruptcy case or the adversary proceeding and no
                       response and request for hearing was timely filed. A copy of the
 7                     motion, notice, and proof of service of the notice and motion must be
                       attached as exhibits to the declaration.
 8

 9 LBR 9013-1(o)(3)(A). Here, the Debtor did not file any such declaration because, if she had done

10 so, any such statements in the declaration would be false. As set forth above, the Trustee and HOA

11 filed and served their respective objection and joinder timely on September 8 and 9, 2022, and both

12 are clearly reflected on the Court’s docket.

13            4.       The Proposed Order falsely states that there was “no objections or requests for

14 hearing” to the Debtor’s Notice to Abandon, which there was. As set forth above, the Trustee

15 timely filed his objection and the HOA timely filed its joinder.

16            WHEREFORE, the Court should not enter the Proposed Order because the Debtor (1) is not

17 permitted to use the notice of intent to abandon procedure to obtain such order; (2) the Trustee and

18 HOA timely objected and, if the Debtor wants the relief, the Debtor must set the matter for hearing;

19 (3) even if there were no objection to the Notice to Abandon (which there was) the Court should

20 not enter the Proposed Order because the Debtor did not file a declaration of service and no

21 response; and (4) the Proposed Order falsely states that there were no objections or requests for

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 1 hearing, which there were. Therefore, the Court should not enter the Proposed Order lodged by the

 2 Debtor. The Trustee prays for all other appropriate relief under the circumstances.

 3

 4 DATED: September 12, 2022                  DANNING, GILL, ISRAEL & KRASNOFF, LLP

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 6
                                              By:          /s/ Aaron E. de Leest
 7                                                  AARON E. DE LEEST
                                                    Attorneys for Jeffrey I. Golden, Chapter 7 Trustee
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 1                                   REQUEST FOR JUDICIAL NOTICE
 2            Jeffrey I. Golden, as Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate of Jamie

 3 Lynn Gallian (the “Debtor), requests that the Court take judicial notice of the following facts.

 4            1.       The Debtor’s Notice to Trustee to Abandon Estate’s Interest in Reinvested Funds

 5 from Sale of Unit 53, 10/31/2018 APN 937-630-53 to Purchase LBM1081 on November 1, 2018,

 6 and Against Jamie Lynn Gallian Relating to the Purchase in the Personal Property Commonly

 7 Known as 16222 Monterey Ln #376, Huntington Beach, California 92649 (docket no. 203) (the

 8 “Notice to Abandon”) was filed on August 26, 2022.

 9            2.       The Notice to Abandon was served on August 26, 2022, on the Trustee and all other

10 registered ECF users by NEF.

11            3.       On September 8, 2022, the Trustee filed and served an objection and request for a

12 hearing with respect to the Debtor’s Notice to Abandon (docket no. 222).

13            4.       On September 9, 2022. the Huntington Beach Gables Homeowners Association

14 (“HOA”) filed and served a joinder (docket no. 223) in the Trustee’s Objection.

15            5.       No declaration of service and no response was filed by the Debtor in relation to the

16 Debtor’s Notice of Lodgment of Order (docket no. 225) and attached proposed Order (docket no.

17 225-1) approving the Debtor’s Notice to Trustee to Abandon Estate’s Interest in Reinvested Funds

18 from Sale of Unit 53, 10/31/2018 APN 937-630-53 to Purchase LBM1081 on November 1, 2018,

19 and Against Jamie Lynn Gallian Relating to the Purchase in the Personal Property Commonly

20 Known as 16222 Monterey Ln #376, Huntington Beach, California 92649 (docket no. 203).

21

22 DATED: September 12, 2022                      DANNING, GILL, ISRAEL & KRASNOFF, LLP

23

24
                                                  By:          /s/ Aaron E. de Leest
25                                                      AARON E. DE LEEST
                                                        Attorneys for Jeffrey I. Golden, Chapter 7 Trustee
26

27

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                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): TRUSTEE’S OBJECTION TO DEBTOR’S
NOTICE OF LODGMENT OF ORDER AND PROPOSED ORDER RE: DEBTOR'S NOTICE TO TRUSTEE TO
ABANDON ESTATE’S INTEREST IN REINVESTED FUNDS FROM SALE OF UNIT 53, 10/31/2018 APN 937-630-53
TO PURCHASE LBM1081 ON NOVEMBER 1, 2018, AND AGAINST JAMIE LYNN GALLIAN RELATING TO THE
PURCHASE IN THE PERSONAL PROPERTY COMMONLY KNOWN AS 16222 MONTEREY LN #376,
HUNTINGTON BEACH, CALIFORNIA 92649; REQUEST FOR JUDICIAL NOTICE IN SUPPORT THEREOF will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) September 12, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:



                                                                                    Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On September 12, 2022 , I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in
a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge
here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is
filed.



                                                                                    Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
(date)                     , I served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                    Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 September 12, 2022                      Beverly Lew                                           /s/ Beverly Lew
 Date                                    Printed Name                                          Signature




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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                                            ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)
Aaron E DE Leest on behalf of Trustee Jeffrey I Golden (TR)
adeleest@DanningGill.com, danninggill@gmail.com;adeleest@ecf.inforuptcy.com

Robert P Goe on behalf of Creditor The Huntington Beach Gables Homeowners Association
kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com

Robert P Goe on behalf of Plaintiff The Huntington Beach Gables Homeowners Association
kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com

Jeffrey I Golden (TR)
lwerner@go2.law, jig@trustesolutions.net;kadele@go2.law

D Edward Hays on behalf of Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates
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ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmend
oza@ecf.courtdrive.com

D Edward Hays on behalf of Interested Party Courtesy NEF
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ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmend
oza@ecf.courtdrive.com

D Edward Hays on behalf of Plaintiff Houser Bros. Co.
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ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmend
oza@ecf.courtdrive.com

Brandon J Iskander on behalf of Creditor The Huntington Beach Gables Homeowners Association
biskander@goeforlaw.com, kmurphy@goeforlaw.com

Brandon J Iskander on behalf of Plaintiff The Huntington Beach Gables Homeowners Association
biskander@goeforlaw.com, kmurphy@goeforlaw.com

Eric P Israel on behalf of Trustee Jeffrey I Golden (TR)
eisrael@DanningGill.com, danninggill@gmail.com;eisrael@ecf.inforuptcy.com

Laila Masud on behalf of Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates
lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud on behalf of Interested Party Courtesy NEF
lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud on behalf of Plaintiff Houser Bros. Co.
lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Mark A Mellor on behalf of Defendant Randall L Nickel
mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com
       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
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Mark A Mellor on behalf of Interested Party Courtesy NEF
mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com

Valerie Smith on behalf of Interested Party Courtesy NEF
claims@recoverycorp.com

United States Trustee (SA)
ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY U.S. MAIL
Debtor
Jamie Lynn Gallian
16222 Monterey Ln Unit 376
Huntington Beach, CA 92649




       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
